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AO 245B (CASDRev. 08/14) Judgment in a Petty Criminal Case


                                    UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                               V.                                  (For Offenses Committed On or After November 1, 1987)

           JULIO HERNANDEZ-HERNANDEZ                                  Case Number: 22MJ2391-MDD

                                                                   Emerson Wheat
                                                                   Defendant’s Attorney
REGISTRATION NO.               06164506
‫܆‬   _

The Defendant:

‫ ܈‬pleaded guilty to count(s)        COUNT 1 OF COMPLAINT

‫ ܆‬was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                  Nature of Offense                                                                  Number(s)
8:1325                           Improper Attempted Entry by an Alien (Misdemeanor)                                    1




    The defendant is sentenced as provided in pages 2 through                2            of this judgment.


‫ ܆‬The defendant has been found not guilty on count(s)
‫ ܆‬Count(s)                                                    is   dismissed on the motion of the United States.

        Assessment : $10.00 WAIVED
‫܈‬       _


‫ ܈‬No fine                    ‫ ܆‬Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                   July 7, 2022
                                                                   Datee of Im
                                                                            Imposition
                                                                             mposition of Sentence



                                                                   HON.
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                                                                        Mitchell
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                                                                                    Dembin
                                                                                       bi
                                                                   UNITED STATES MAGISTRATE JUDGE



                                                                                                                   22MJ2391-MDD
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AO 245B (CASD Rev. 08/14) Judgment in a Petty Criminal Case

DEFENDANT:                JULIO HERNANDEZ-HERNANDEZ                                                Judgment - Page 2 of 2
CASE NUMBER:              22MJ2391-MDD

                                                   IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 ‫܆‬     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ‫܈‬     The court makes the following recommendations to the Bureau of Prisons:
        USMS, ICE or DHS or other arresting agency return all property and all documents in the defendant’s
        possession at the time of arrest upon their deportation or removal.



 ‫܆‬     The defendant is remanded to the custody of the United States Marshal.

 ‫܆‬     The defendant shall surrender to the United States Marshal for this district:
       ‫܆‬     at                             P.M.              on
       ‫܆‬     as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 ‫܆‬
       Prisons:
       ‫܆‬     on or before
       ‫܆‬     as notified by the United States Marshal.
       ‫܆‬     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



                                                                                                      22MJ2391-MDD
